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 7
 8                    IN THE UNITED STATES DISTRICT COURT
 9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    )
                                  ) CR S-05-456 FCD
12                    Plaintiff, )
                                  ) STIPULATION AND ORDER
13                v.              )
                                  ) DATE: September 18, 2006
14   RAQUEL SOLORIO,              ) TIME: 9:30 a.m.
                                  ) CTRM: Hon. Frank C. Damrell, Jr.
15                    Defendant. )
     _____________________________)
16
17        The United States of America, through its counsels of record,
18   McGregor W. Scott, United States Attorney for the Eastern District
19   of California, and William S. Wong, Assistant United States
20   Attorney, and defendant Raquel Solorio, through her counsel, Dina
21   Santos, Esq., stipulate and agree that Government’s response to
22   Defendant’s Motion to Sever will be due October 16, 2006 and the
23   hearing on the motion which was scheduled for September 18, 2006 be
24   continued to October 23, 2006, at 9:30 a.m.
25        Government counsel has been in a complex trial for the past two
26   weeks in United States v. Huy Chi Luong, et al., CR-S-96-350 WBS,
27   and needs additional time to research and prepare its response to
28   the defendant's motion.    Accordingly, the parties stipulate that

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 1   time be excluded from September 18, 2006 to October 23, 2006, for
 2   the pendency of this motion pursuant to 18 U.S.C. §3161(h)(1)(F)-
 3   delay resulting from any pretrial motion and 18 U.S.C.
 4   §3161(h)(8)(B)(ii) - additional time to adequately prepare for
 5   pretrial proceedings.
 6                                            Respectfully submitted,
 7                                            McGREGOR W. SCOTT
                                              United States Attorney
 8
 9   DATED: September 20, 2006         By: /s/ William S. Wong
                                           WILLIAM S. WONG
10                                         Assistant U.S. Attorney
                                           Attorneys for Plaintiff
11
12
     DATED: September 20, 2006         By: /s/ Dina L. Santos
13                                         DINA L. SANTOS, ESQ.
                                           Attorney for Defendant
14                                         RAQUEL SOLORIO
15   ________________________________________________________________
16                                      ORDER
17        UPON GOOD CAUSE SHOWN, the revised law and motion schedule is
18   adopted.   Furthermore, time is excluded from September 18, 2006 to
19   October 23, 2006, for the reasons set forth above.
20        IT IS SO ORDERED.
21
     DATED: September 20, 2006
22                                        /s/ Frank C. Damrell Jr.
                                          HONORABLE FRANK C. DAMRELL, JR.
23                                        UNITED STATES DISTRICT COURT JUDGE
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